                      Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 1 of 23


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                                     IN THE UNITED STATES DISTRICT COURT FOR
                                         THE MIDDLE DISTRICT OF ALABA1VIA RECEIVED
                                                                                                 2020 APR 1 14 A ID 3Li
            CA.),:    Ncoom keexY
               Full name and prison'name of
                                                       eat,401    ))                          DEBRA P. HACKETT. CLK
               Plaintiff(s)                                        ))                           U.S. DiSTRICT COURT
                                                                                                        DcSTR!CT ALA
               v.                                                   )      CIVIL ACTION NO. 2:20-cv-255-WHA-CSC

        c                                                         )
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                                                                           (To be supplied by Clerk OfU.S. District

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                                                                            Court)

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               Name ofperson(s) who violated ur_                 )
               constitutional rights.(List the names             )
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                   a.on. peAT off.--Pectddo-I4 s
        r d IC-,
               I.     PREVIOUS LAWSUITS
                       A.         Have you begun other lawsuits in state or fe eral court dealing with the same or
                                  similar facts involved in this action? YES   No ❑

                        B.     Have you begun other lawsuits in state or federal court relating to your
                               imprisonment?    YES1          NO0

                        C.     If your answer to.A or B is yes, describe each lawsuit in the space below. (Ifthere
                               is more than one lawsuit, describe the addirional lawsuits on another piece ofpaper,
                               using the same outline.)

                               1.       Parties tcY this previous lawsuit:

                                        Plaintiff(s) lA)         ViVt1,160. --€4.LA     Vat.v‘




                                        Defendant(s)                                  tt;exivivis


                               2.       Court(iffederal court, name the district; ifsiate court, name the county)
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   Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 2 of 23




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       Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 3 of 23

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               3.      Docket mimber thi)      :          t 21-                        F
               4.      Name ofjudge to whom case was assigned            tAAA, VAA,044)


               5.      Disposition(for example: was the case dis issed? Wasit appealed? Is it still
                       pending ?) D't C MA 6$      e,..,A a ,,,,   a,:`
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               6.      Approximate date offiling lawsuit A 6,....e uk(at ;.7 jerp
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III.     NAME AND ADDRESS OF INDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
         CONSTITUTIONAL RIGHTS.

               NAME                                   , ADDRESS
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4.       Te           E,       au                 e__                  A. ckA,t,..ts
5.                             es

6.

         THE DATE UPON WHICH SAID VIOLATION OCCURRED



V.       STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATION
         THAT YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED:

         GROUND ONE:             J ce      A.4"       c,    Cc/ Shcc.±
   Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 4 of 23



STATE BRIEFLY THE FACTS WHICH SUPPORT THIS GROUND. (State as best you can the
time, place and manner and person involved.)




GROUND TWO:          se-e           _..,++cke,i4    „et   5



SUPPORTING FACTS:




GROUND THREE:        6 c.      CA    1-4 6. c. n,


SUPPORTING FACTS:
     Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 5 of 23



VL     STATE BRIEFLY EXACTLY WHAT YOU WANT THE CO(TRT TO DO FOR YOU.
       MAKE NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.



                                 C.t:FIL       k       C,k7f*




                                                      ,LLL
                                              Signature of plaintin(s)


       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on


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                                              Signature ofplaint s)
                         Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 6 of 23

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                  Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 18 of 23

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           Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 19 of 23

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             Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 20 of 23


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                      Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 21 of 23

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                Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 22 of 23

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Case 2:20-cv-00255-WHA-CSC Document 2 Filed 04/14/20 Page 23 of 23




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